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6                             UNITED STATES DISTRICT COURT

7                                    DISTRICT OF NEVADA

8                                               ***

9     RICKIE HILL,                                       Case No. 2:20-cv-01717-JAD-DJA

10                                      Plaintiff,               ORDER
            v.
11

12    MARCIANO, et al.,

13                                  Defendants.

14

15

16   I.    DISCUSSION

17         On July 30, 2021, the Court issued a screening order permitting the Eighth

18   Amendment claims against Marciano and Wuest and the First Amendment mail claim

19   against Marciano to proceed and dismissing other claims with leave to amend. (ECF No.

20   3 at 11). The Court granted Plaintiff until August 30, 2021 to file an amended complaint

21   (Id. at 12). The Court specifically stated that if Plaintiff chose not to file an amended

22   complaint, the action would proceed immediately on the Eighth Amendment claims

23   against Marciano and Wuest and the First Amendment mail claim against Marciano only.

24   (Id.). Plaintiff has not filed an amended complaint. Therefore, pursuant to the screening

25   order, this action shall proceed on those claims.

26   ///

27   ///

28   ///

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1
     II.       CONCLUSION
2
               For the foregoing reasons, IT IS ORDERED that, pursuant to the Court’s screening
3
     order (ECF No. 3), this action shall proceed on the Eighth Amendment claims against
4
     Marciano and Wuest and the First Amendment mail claim against Marciano.
5
               IT IS FURTHER ORDERED that given the nature of the claim(s) that the Court has
6
     permitted to proceed, this action is STAYED for ninety (90) days to allow Plaintiff and
7
     Defendant(s) an opportunity to settle their dispute before the $350.00 filing fee is paid, an
8
     answer is filed, or the discovery process begins. During this 90-day stay period and until
9
     the Court lifts the stay, no other pleadings or papers may be filed in this case, and the
10
     parties may not engage in any discovery, nor are the parties required to respond to any
11
     paper filed in violation of the stay unless specifically ordered by the court to do so. The
12
     Court will refer this case to the Court’s Inmate Early Mediation Program, and the Court
13
     will enter a subsequent order. Regardless, on or before ninety (90) days from the date
14
     this order is entered, the Office of the Attorney General shall file the report form attached
15
     to this order regarding the results of the 90-day stay, even if a stipulation for dismissal is
16
     entered prior to the end of the 90-day stay. If the parties proceed with this action, the
17
     Court will then issue an order setting a date for Defendants to file an answer or other
18
     response. Following the filing of an answer, the Court will issue a scheduling order setting
19
     discovery and dispositive motion deadlines.
20
               IT IS FURTHER ORDERED that “settlement” may or may not include payment of
21
     money damages. It also may or may not include an agreement to resolve Plaintiff’s issues
22
     differently. A compromise agreement is one in which neither party is completely satisfied
23
     with the result, but both have given something up and both have obtained something in
24
     return.
25
               IT IS FURTHER ORDERED that if the case does not settle, Plaintiff will be required
26
     to pay the full $350.00 filing fee. This fee cannot be waived. If Plaintiff is allowed to
27
     proceed in forma pauperis, the fee will be paid in installments from his prison trust
28
                                                   2
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     account. 28 U.S.C. § 1915(b). If Plaintiff is not allowed to proceed in forma pauperis, the
2
     $350.00 will be due immediately.
3
            IT IS FURTHER ORDERED that if any party seeks to have this case excluded from
4
     the inmate mediation program, that party will file a “motion to exclude case from
5
     mediation” no later than 21 days prior to the date set for mediation. The responding party
6
     will have 7 days to file a response. No reply will be filed. Thereafter, the Court will issue
7
     an order, set the matter for hearing, or both.
8
            IT IS FURTHER ORDERED that the Clerk of the Court shall electronically SERVE
9
     a copy of this order, the original screening order (ECF No. 3) and a copy of Plaintiff’s
10
     complaint (ECF No. 4) on the Office of the Attorney General of the State of Nevada, by
11
     adding the Attorney General of the State of Nevada to the docket sheet. This does not
12
     indicate acceptance of service.
13
            IT IS FURTHER ORDERED that the Attorney General’s Office shall advise the
14
     Court within twenty-one (21) days of the date of the entry of this order whether it will enter
15
     a limited notice of appearance on behalf of Defendants for the purpose of settlement. No
16
     defenses or objections, including lack of service, shall be waived as a result of the filing
17
     of the limited notice of appearance.
18
            DATED this 27th day of October 2021.
19

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                                                UNITED STATES MAGISTRATE JUDGE
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7                                UNITED STATES DISTRICT COURT
8                                     DISTRICT OF NEVADA
9

10    RICKIE HILL,                                         Case No. 2:20-cv-01717-JAD-DJA
                    Plaintiff,                            REPORT OF ATTORNEY GENERAL
11                                                         RE: RESULTS OF 90-DAY STAY
             v.
12
      MARCIANO, et al.,
13
                    Defendants.
14
     NOTE: ONLY THE OFFICE OF THE ATTORNEY GENERAL SHALL FILE THIS FORM.
15   THE INMATE PLAINTIFF SHALL NOT FILE THIS FORM.
16

17          On ________________ [the date of the issuance of the screening order], the Court
18   issued its screening order stating that it had conducted its screening pursuant to 28 U.S.C.
19   § 1915A, and that certain specified claims in this case would proceed. The Court ordered
20   the Office of the Attorney General of the State of Nevada to file a report ninety (90) days
21   after the date of the entry of the Court’s screening order to indicate the status of the case
22   at the end of the 90-day stay. By filing this form, the Office of the Attorney General hereby
23   complies.
24   ///
25   ///
26   ///
27   ///
28   ///
                                                  4
     Case 2:20-cv-01717-JAD-DJA Document 5 Filed 10/27/21 Page 5 of 6



1
                                              REPORT FORM
2    [Identify which of the following two situations (identified in bold type) describes the case,
     and follow the instructions corresponding to the proper statement.]
3
     Situation One: Mediated Case: The case was assigned to mediation by a court-
4    appointed mediator during the 90-day stay. [If this statement is accurate, check ONE
     of the six statements below and fill in any additional information as required, then proceed
5    to the signature block.]

6           ____ A mediation session with a court-appointed mediator was held on
                 _______________ [enter date], and as of this date, the parties have
7                reached a settlement (even if paperwork to memorialize the settlement
                 remains to be completed). (If this box is checked, the parties are on notice
                 that they must SEPARATELY file either a contemporaneous stipulation of
8                dismissal or a motion requesting that the Court continue the stay in the case
                 until a specified date upon which they will file a stipulation of dismissal.)
9
            ____ A mediation session with a court-appointed mediator was held on
10               ________________ [enter date], and as of this date, the parties have not
                 reached a settlement. The Office of the Attorney General therefore informs
11               the Court of its intent to proceed with this action.
12          ____ No mediation session with a court-appointed mediator was held during the
                 90-day stay, but the parties have nevertheless settled the case. (If this box
13               is checked, the parties are on notice that they must SEPARATELY file a
                 contemporaneous stipulation of dismissal or a motion requesting that the
14               Court continue the stay in this case until a specified date upon which they
                 will file a stipulation of dismissal.)
15
            ____ No mediation session with a court-appointed mediator was held during the
16               90-day stay, but one is currently scheduled for ________________ [enter
                 date].
17
            ____ No mediation session with a court-appointed mediator was held during the
18               90-day stay, and as of this date, no date certain has been scheduled for
                 such a session.
19          ____ None of the above five statements describes the status of this case.
                 Contemporaneously with the filing of this report, the Office of the Attorney
20               General of the State of Nevada is filing a separate document detailing the
                 status of this case.
21
                                                   *****
22
     Situation Two: Informal Settlement Discussions Case: The case was NOT assigned
23   to mediation with a court-appointed mediator during the 90-day stay; rather, the
     parties were encouraged to engage in informal settlement negotiations. [If this
24   statement is accurate, check ONE of the four statements below and fill in any additional
     information as required, then proceed to the signature block.]
25
            ____ The parties engaged in settlement discussions and as of this date, the
26               parties have reached a settlement (even if the paperwork to memorialize
                 the settlement remains to be completed). (If this box is checked, the parties
27               are on notice that they must SEPARATELY file either a contemporaneous
                 stipulation of dismissal or a motion requesting that the Court continue the
28               stay in this case until a specified date upon which they will file a stipulation
                 of dismissal.)
                                                  5
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           ____ The parties engaged in settlement discussions and as of this date, the
2               parties have not reached a settlement. The Office of the Attorney General
                therefore informs the Court of its intent to proceed with this action.
3
           ____ The parties have not engaged in settlement discussions and as of this date,
4               the parties have not reached a settlement. The Office of the Attorney
                General therefore informs the Court of its intent to proceed with this action.
5

6          ____ None of the above three statements fully describes the status of this case.
                Contemporaneously with the filing of this report, the Office of the Attorney
                General of the State of Nevada is filing a separate document detailing the
7               status of this case.
8          Submitted this _______ day of __________________, ______ by:
9
     Attorney Name: _______________________                _________________________
10                          Print                                  Signature
11
     Address:    ______________________                    Phone:
12
                                                           ___________________________
13               ______________________
                                                           Email:
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